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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



                                                            )   MDL No. 1456
In re: PHARMACEUTICAL INDUSTRY                              )   Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION                          )   Subcategory Case No. 06-11337
                                                            )
                                                            )   Hon. Patti B. Saris
THIS DOCUMENT RELATES TO:                                   )
                                                            )
State of California ex rel. Ven-A-Care of the Florida       )
Keys, Inc. v. Abbott Labs, Inc. et al.,                     )
Civil Action No. 03-11226-PBS                               )
                                                            )

         DECLARATION OF CHRISTOPHER C. PALERMO IN SUPPORT OF
       DEFENDANTS MYLAN INC. AND MYLAN PHARMACEUTICALS INC.’S
               MOTION FOR PARTIAL SUMMARY JUDGMENT


               CHRISTOPHER C. PALERMO, declares, pursuant to 28 U.S.C. § 1746, that:

               1.      I am a member of the law firm of Kelley Drye & Warren LLP, national

counsel for Defendants Mylan Inc. (formerly known as Mylan Laboratories Inc.) and Mylan

Pharmaceuticals Inc. (collectively, “Mylan”). I am admitted to practice law in the State of New

York and have been admitted pro hac vice in this action.

               2.      I make this declaration in support of Mylan’s Motion for Partial Summary

Judgment. I make this declaration from my own personal knowledge of the facts and

circumstances set forth herein. The source of my knowledge is my review of Kelley Drye &

Warren LLP’s files with respect to this litigation, including my review of the documents annexed

as exhibits hereto.

               3.      Annexed hereto as Exhibit A is a true and correct copy of an Order and

Final Judgment in the action entitled State of Connecticut, et al. v. Mylan Laboratories Inc., et
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al., Civ. No. 1:98-CV-3115-tfh (D.D.C.), bearing Bates numbers CAMylan04005427 –

CAMylan04005441.

               4.     Annexed hereto as Exhibit B is a true and correct copy of the complaint

filed by the Federal Trade Commission (“FTC”) in the action entitled FTC v. Mylan

Laboratories Inc., et al., Civ. No. 1:98-CV-3114-TFH (D.D.C.), bearing Bates numbers

CAMylan04005148 – CAMylan04005171.

               5.     Annexed hereto as Exhibit C is a true and correct copy of the Third

Amended Complaint filed in the action entitled State of Connecticut, et al. v. Mylan Laboratories

Inc., et al., Civ. No. 1:98-CV-3115-tfh (D.D.C.), bearing Bates numbers CAMylan04005534 –

CAMylan04005601.

               6.     Annexed hereto as Exhibit D is a true and correct copy of a Notice of

Settlement filed in the Multidistrict Litigation entitled In re: Lorazepam and Clorazepate

Antitrust Litigation, MDL No. 1290 TFH (D.D.C.), bearing Bates numbers CAMylan04005195 –

CAMylan04005426.

               7.     Annexed hereto as Exhibit E is a true and correct copy of an April 27,

2001 Order Preliminarily Approving Proposed Settlements entered in the action entitled In re:

Lorazepam and Clorazepate Antitrust Litigation, MDL No. 1290 TFH (D.D.C.), bearing Bates

numbers CAMylan04005442 – CAMylan04005451.

               8.     Annexed hereto as Exhibit F is a true and correct copy of the First

Amended Complaint in this action filed on or about August 25, 2005.

               9.     Annexed hereto as Exhibit G is a true and correct copy of Defendants

Mylan Laboratories Inc.’s and Mylan Pharmaceuticals Inc.’s Objections and Responses to

Plaintiff’s First Set of Interrogatories dated November 15, 2007.




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              10.    Annexed hereto as Exhibit H is a true and correct copy of excerpts of the

30(b)(6) deposition of Harry A. Korman, taken on November 26, 2007.

              11.    Annexed hereto as Exhibit I is a true and correct copy of excerpts of the

30(b)(6) deposition of Brian Roman, taken on August 2, 2007.

              12.    Annexed hereto as Exhibit J is a true and correct copy of a price

notification letter, dated March 15, 1995, bearing Bates numbers CAMylan02529434-

CAMylan02529437.

              13.    Annexed hereto as Exhibit K is a true and correct copy of a price

notification letter, dated February 5, 1998, bearing Bates numbers CAMylan00118379-

CAMylan00118382.

              14.    Annexed hereto as Exhibit L is a true and correct copy of a price

notification letter, dated January 18, 2000, bearing Bates numbers CAMylan00262839-

CAMylan00262842.

              15.    Annexed hereto as Exhibit M is a true and correct copy of a price

notification letter, dated April 3, 2001, bearing Bates numbers CAMylan002856-

CAMylan00262857.

              16.    Annexed hereto as Exhibit N is a true and correct copy of a price

notification letter, dated March 31, 2002, bearing Bates number CAMylan00262866.

              I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 25, 2009.



                                                            /s/ Christopher C. Palermo
                                                            Christopher C. Palermo




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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was delivered to all counsel of
record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by
causing to be sent, on November 25, 2009, a copy to LexisNexis File & Serve for posting and
notification to all parties.



                                                       /s/ Christopher C. Palermo
                                                         Christopher C. Palermo




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